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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 1:20-cv-

SOPRIS SYSTEMS, LLC,

                Plaintiff

v.

FOLIO3 Software, Inc.

                Defendant.


                                             COMPLAINT


        For its Complaint, Plaintiff Sopris Systems, LLC alleges as follows:

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action under 28 U.S.C. § 1332(a)(1) and (2)

because this is a civil action between citizens of different states, and citizens of a State and citizens

of a foreign state, and the matter in controversy exceeds $75,000, exclusive of interest and costs.

        2.      Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part

of the events giving rise to the claim occurred in Colorado.

        3.      Further, the contract at issue between the parties provides disputes may be

submitted to “any” United States Federal Court. (See Ex. A ¶ 12.3.)

                                                  PARTIES

        4.      Plaintiff Sopris Systems, LLC (“Sopris”) is a Colorado Limited Liability Company

with its principal office street address of 7887 E. Belleview Ave., Suite 1100, Englewood,

Colorado 80111.



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        5.       Plaintiff has two members, (1) Laura Pfohl who is domiciled in and a citizen of

Florida residing at 6578 N. 197th Pl., Jupiter, Florida, 33458, and (2) Sonata Software Ltd. which

is a public limited company registered under the laws of the Republic of India. Its registered office

is 208, T V Industrial Estate, 2nd Floor, S K Ahire Marg, Worli, Mumbai Maharashtra 400 030,

India. Its corporate office is located at 1/4, APS Trust Building, Bull Temple Road, N. R. Colony,

Bangalore Karnataka 560 004, India. Its stock trades on the National Stock Exchange of India

under the symbol SONATSOFTW. As a public limited company, Sonata Software Ltd. is an

incorporated entity under section 7 of India’s Companies Act, 20131, and is therefore akin to a

corporation in the United States.

        6.       Folio3 Software, Inc. is a California corporation having its principal place of

business at 333 Twin Dolphin Drive, Redwood City, California 94065.

                                                        FACTS

        7.       Sopris and Folio3 are parties to an agreement dated March 14, 2014 (the

“Agreement”) pursuant to which Folio3 provided services relating to creating an application for

IOS (iPhone, iPad), Android and Windows devices referred to as Mobile App for GeoSpec (the

“App”) including but not limited to creating source code, programs, systems, data and instructions

to operate the app. (See Ex. A).

        8.       On July 18, 2014 the parties agreed to Work Order No. 2 pursuant to which Folio3

agreed to integrate Folio3’s “Dynamics” into the App and further agreed to add “Edit

functionality” to the App. (See Ex. B at p. 1 ¶4 and p.8 ¶4; Work Order No. 2)




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 A copy of India’s Companies Act, 2013 is available on the website for the Government of India, Ministry of
Corporate Affairs, http://www.mca.gov.in/MinistryV2/homepage.html.

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        9.      The parties agreed to share revenue from the App, 35% to Folio3 and 65% to Sopris.

(See Ex. B at p. 1 ¶4 and p.8 ¶4; Work Order No. 2). All of Folio3’s services including the App

itself are referred to in the Agreement and here as “Work”.

        10.     Sopris made multiple payments to Folio3.

        11.     A dispute arose between parties whereby Sopris demanded receipt of the Work

before continuing to make payments, and Folio3 demanded payment before providing the Work.

        12.     The parties participated in an arbitration which resulted in an award against Sopris

for failure to Folio3.

        13.     Based on the award, on June 24, 2019, Folio3 obtained a judgment in the amount

of $98,567.25 against Sopris in the District Court, City and County of Denver, Colorado in Case

No. 2019CV32289.

        14.     On October 1, 2019 Sopris paid this amount by submitting it to the Court’s

Registry.

        15.     On January 8, 2020 the Denver Court increased the amount of the judgment to

$117,573.17 to include interest.

        16.     Sopris paid the judgment in full in early March 2020 and Folio3 acknowledged

receipt of payment on March 6, 2020 by filing a Satisfaction of Judgment acknowledging receipt

of $117,573.17 from Sopris.

        17.     All Work is owned by Sopris.

        18.     Section 7.1 of the Agreement provides:

                …all right, title, and interest, including copyright interests and any other
                intellectual property in and to the Work or any deliverables created by the
                Work, including but not limited to any programs, systems, data, or materials
                produced or provided by [Folio] alone or in combination with [Sopris]
                and/or its employees under this Agreement shall be the property of
                [Sopris].

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(See Ex. A, §7.1) (emphasis added).

       19.     Sopris has repeatedly demanded Folio3 deliver the Work to Sopris.

       20.     Folio3 has agreed to deliver the Work to Sopris.

       21.     Folio3 has failed to deliver the Work to Sopris.

       22.     In particular, Folio3 has failed to deliver to Sopris the IOS version of the App.

       23.     Folio3 demonstrated the IOS version of the App to Sopris throughout the

development process, and when demonstrated to Sopris, the App was fully functioning.

       24.     It was later discovered IOS version of the App did not reside on Sopris’ servers but

instead on Folio3’s servers.

       25.     Sopris does not have possession of the IOS version of the App.

       26.     Further, Folio3 without Sopris’ authorization offered for sale and upon information

and belief sold Sopris’ App.

       27.     Also without Sopris’ authorization Folio3 solicited at least one of Sopris’

customers, Beacon Rail Leasing.

       28.     Section 8 of the Agreement prohibits Folio3 from engaging in unfair competition

by among other things the “sale or unauthorized use or disclosure of [Sopris’] Confidential

Information…including information concerning customer lists, marketing plans, and prospective

customer lists….” (See Ex. A, §8) (emphasis added).

       29.     The Agreement defines Confidential Information in section 6 as “[Sopris’]

intellectual property, that relates to existing and future products or services, designs, business

plans, business opportunities….” (See Ex. A, §6.2) (emphasis added).

       30.     The Work and Sopris’ customers constitute Confidential Information under the

Agreement.

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       31.     On May 31, 2016, Sopris received a general solicitation email from Folio3 in which

Folio3 was attempting to sell software using pictures of software that belongs to Sopris under the

Agreement. (See Ex. C, Email).

       32.     Specifically, on page 3 of Exhibit C under “Dynamics AX Mobile Solutions”,

Folio’s email states the app includes “field services”.

       33.     The “field services” feature was part of functionality created by Folio3 for Sopris’

App pursuant to Work Order No. 2. (See Ex. C, Work Order No.2).

       34.     Folio3 has failed to share with Sopris any revenue it has received from the sale of

the App.

       35.     In approximately September, 2019 Sopris learned that in 2018, Folio3 solicited at

least one of Sopris’ customers, Beacon Rail Leasing.

       36.     Folio3 provided the following services to Beacon Rail:




See Folio3’s website, https://dynamics.folio3.com/beacon-rail/ (last accessed May 21, 2020).

       37.     Folio3 had access to Sopris’ customer lists.

       38.     Folio3 knew Beacon Rail was Sopris’ customer.

       39.     Nevertheless Folio3 solicited Beacon Rail.

       40.     Sopris has suffered losses of more than $75,000, and continues to suffer losses, as

a result of Folio3’s actions including but not limited to the lost value of Work including but not

limited to the App and lost revenues from the App.

       41.      Section 11.1 of the Agreement provides that Folio3 agrees to indemnify Sopris

from and against,

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        … all loss, liability, damages, claims and expenses, including reasonable attorneys’
        fees, arising out of claims or suits for damages or injury to persons or property in
        connection with, in whole or in part, 1) any negligence act, omission, or willful
        misconduct of [Folio3] in the performance of this Agreement; and 2) [Folio3’s]
        failure to comply with federal, state or local law.

(See Ex. A, §11.1).

        42.    Section 12.10 of the Agreement provides that in the event of a dispute, the

prevailing party shall be entitled to reasonable attorneys’ fees and other costs and expenses

incurred in resolving the dispute. (See Ex. A, §12.10).

        43.    The Agreement provides that before filing a court action, the parties “shall

endeavor” to settle any dispute by mediation in San Jose, California before the American

Arbitration Association (AAA). (See Ex. A §12.8).

        44.    The parties subsequently agreed to mediate on April 25, 2020 at the AAA offices

in San Francisco, California.

        45.    The mediation on April 25, 2020 did not take place. Due to the COVID-19

pandemic and related government quarantine restrictions, the AAA offices were closed in April

and there was no other available venue in San Francisco. Similarly, Sopris and its counsel were

unable to travel due to health concerns and government quarantine restrictions in Colorado and

Florida limiting travel unless absolutely necessary.

        46.    Sopris requested the mediation proceed via video or telephone conference, but

Folio3 would not agree. The parties then agreed to continue the in-person mediation to May 28,

2020.

        47.    The mediation on May 28, 2020 did not take place. The AAA offices in San

Francisco were still closed and AAA indicated the offices will remain closed through September,

2020, and there was no other available venue in San Francisco. Further, Sopris and its counsel



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were still unable to travel due to health concerns and government quarantine restrictions in

Colorado and Florida limiting travel unless absolutely necessary.

         48.   According to the New York Times, as of May 28, 2020, California had the fourth

highest cases of COVID-19 in the United States and is listed as one of the states “where new cases

are increasing”:




See https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases (last visited May 29,

2020).

         49.   Sopris again requested the parties mediate via video or telephone conference, but

Folio3 again would not (and does not) agree.

         50.   Despite the COVID-19 pandemic and related health risks and quarantine

restrictions, Folio3 continues to demand that Sopris and its counsel travel to California to attend

the mediation in-person.

         51.   Due to concerns about the expiration of statute of limitations, Sopris filed this

lawsuit.

         52.   Folio3 contends all of Sopris’ claims are barred by the statute of limitations, but

has failed to explain the basis for its contention.

         53.   Folio3 failed to submit a mediation statement on April 7 as required by the

mediator.

         54.   Folio3’s demand for an in-person mediation in California light of the COVID-19

pandemic and Sopris’ concerns about expiration of statutes of limitations is in bad faith and a delay

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tactic to avoid delivering the Work to Sopris so Folio3 can continue selling Sopris’ App for its

own profit, to avoid sharing revenue with Sopris from the App, and to avoid responsibility for

improperly soliciting Sopris’ customer.

       55.      Sopris remains willing to mediate via video or telephone until the AAA offices in

San Francisco reopen, Sopris and counsel feel safe traveling to San Francisco to attend an in person

mediation, and quarantine restrictions limiting travel unless absolutely necessary are lifted.

       56.      The Agreement provides that if mediation is unsuccessful, the parties’ dispute shall

be arbitrated. (See Ex. A §12.9). However, the arbitration provision states it “does not apply to the

breach of provisions pertaining to confidentiality and proprietary rights, and that either party may

petition a court of law for injunctive relief and such other rights and remedies as it may have at

law or equity against such breaches.” (See Ex. A §12.9).

       57.      Sopris’ allegations in this Complaint allege breach of contract provisions pertaining

to confidentiality and proprietary rights, therefore, the arbitration provision does not apply.

                                     FIRST CLAIM FOR RELIEF
                                         (Breach of Contract)

       58.      Sopris realleges and incorporates by references the above paragraphs as if fully set

forth herein.

       59.      A contract exists between Sopris and Folio3. (See Exs. A and B).

       60.      Sopris has fulfilled its obligations and complied with all conditions of the

contract(s) it is required to perform including “endeavoring” to settle by mediation.

       61.      To the extent the contract requires a mediation to take place, Sopris has been

excused from the requirement to mediate before filing suit, or the requirement to mediate is

unenforceable because the COVID-19 pandemic and Folio3’s refusal to conduct mediation via

video or telephone have prevented Sopris from mediating and have rendered mediation impossible

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or impracticable prior to the expiration of applicable statutes of limitations.

          62.    Folio3 has breached section 7.1 of the Agreement by failing to deliver the Work to

Sopris.

          63.    Folio3 has breached sections 6.2 and 8 of the Agreement by soliciting Sopris’

customer Beacon Rail.

          64.    Folio3 has breached sections 6.2 and 8 of the Agreement by advertising and upon

information and belief selling Sopris’ App to others as indicated by Ex. C, and by failing to share

revenues with Sopris pursuant to Ex. B.

          65.    Folio3’s breaches have caused, and continue to cause damages to Sopris. Sopris has

suffered losses of more than $75,000 as a result of Folio3’s actions including but not limited to the

lost value of Work including but not limited to the App and lost revenues from the App.

                                     SECOND CLAIM FOR RELIEF
                                          (Indemnification)

          66.    Sopris realleges and incorporates by references the above paragraphs as if fully set

forth herein.

          67.    Section 11.1 of the Agreement provides that Folio3 agrees to indemnify Sopris from

and against,

          … all loss, liability, damages, claims and expenses, including reasonable attorneys’
          fees, arising out of claims or suits for damages or injury to persons or property in
          connection with, in whole or in part, 1) any negligence act, omission, or willful
          misconduct of [Folio3] in the performance of this Agreement; and 2) [Folio3’s]
          failure to comply with federal, state or local law.

(See Ex. A, §11.1)

          68.     Folio3 has negligently or willfully violated section 7.1 of the Agreement by

refusing to deliver the Work to Sopris despite being paid in full.

          69.    Folio3 has negligently or willfully violated sections 6.2 and 8 of the Agreement by

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soliciting at least one customer of Sporis (Beacon Rail).

       70.     Folio3 has negligently or willfully violated sections 6.2 and 8 of the Agreement by

advertising and upon information and belief selling Sopris’ App to others as indicated by Ex. C,

and by failing to share revenues with Sopris pursuant to Ex. B.

       71.     Folio3 has further failed to comply with federal and state law by violating the

aforementioned provisions of the Agreement.

       72.     Sopris has suffered losses of more than $75,000 as a result of Folio3’s actions

including but not limited to the lost value of Work including but not limited to the App, lost

revenues from the App, and related attorneys’ fees and costs related.

                                    PRAYER FOR RELIEF

       WHEREFORE, Sopris Systems, LLC prays for judgment in its favor and against Folio3

Software, Inc. as follows:

        A.     An order requiring Folio3 to immediately deliver to Sopris all Work including the

               IOS version of the App;

        B.     Such actual damages as this Court deems just and proper;

        C.     Attorneys’ fees and costs pursuant to the parties’ Agreement;

        D.     Costs of this action as allowed by law;

        E.     Pre-judgment and post-judgment interest as allowed by law;

        F.     Such other and further relief as this Court may deem appropriate.




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Dated May 29, 2020.


                                            s/ Tamara A. Seelman
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